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                  UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF MICHIGAN


YPSILANTI TOWNSHIP CITIZENS FOR
RESPONSIBLE GOVERNMENT, ballot Case No. 5:22-cv-10614-SFC-CI
question committee,
                                Hon. Sean F. Cox
            Plaintiff,
v.

JOCELYN BENSON, in her official capacity
as Secretary of State of Michigan,
CHARTER TOWNSHIP OF YPSILANTI,
and HEATHER JARRELL ROE, in her
official capacity as Ypsilanti Township
Clerk.

            Defendants.


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PLAINTIFF’S REPLY TO DEFENDANTS’ RESPONSES TO PLAINTIFF’S
      RENEWED MOTION FOR PRELIMINARY INJUNCTION




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                           STATEMENT OF ISSUES
Is Mich. Comp. Laws § 125.3402 a content neutral, nondiscriminatory
regulation?




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                      CONTROLLING AUTHORITY
Meyer v. Grant, 486 U.S. 414 (1988)




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                                    ARGUMENT
      I.     Contrary to Defendants’ assertions, Mich. Comp. Laws § 125.3402
             is not a content-neutral, nondiscriminatory regulation.
      Defendants claim that rational basis review applies because Mich. Comp.

Laws § 125.3402 is a “content-neutral, nondiscriminatory” regulation. However, this

position completely disregards the Anderson-Burdick framework, which the

Supreme Court has recognized as the appropriate authority to assess state election

laws. Buckley v. Amer. Con. Law Foundation, 525 U.S. 182, 206 (1999) (Thomas,

J., concurring) (noting that the Supreme Court has “developed . . . a framework for

assessing the constitutionality, under the First and Fourteenth Amendments of state

election laws.”) Anderson-Burdick requires courts to weigh the burden on the

plaintiff against the state’s interests to determine the type of scrutiny to apply. See

Libertarian Pty of Ohio v. Blackwell, 585. If the burden to the plaintiff is severe,

then strict scrutiny applies and state regulations will only be upheld if it is narrowly

tailored to serve a compelling government interest. Buckley, 525 U.S. at 207

(Thomas, J., concurring). “If the regulations are minimally burdensome, the state’s

regulatory interest will likely justify ‘reasonable, nondiscriminatory restrictions.’”

Graveline v. Benson, 992 F.3d 524, 535 (6th Cir. 2021). However, with an

intermediate burden, the court must perform a balancing test, weighing the burden

on plaintiff against the state’s asserted interest and means of pursuing it.” Id.



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      Township Defendants argue that Mich. Comp. Laws § 125.3402 constitutes a

“content-neutral, nondiscriminatory” law and does not impose an undue burden on

Plaintiff’s rights, hence warranting rational basis review. This is inaccurate. To

begin, under Anderson-Burdick, the $100,000.00 Plaintiff spent and the very limited

time period for Plaintiff to collect signatures constitutes a severe burden on

Plaintiff’s right to free speech.

      In its Renewed Motion for Preliminary Injunction, Plaintiff has set forth its

arguments for heightened scrutiny and will not reiterate them herein. Turning to the

question of whether or not the statute is “content-neutral” and “nondiscriminatory”,

Defendants rely upon Taxpayers United for Assessment Cuts v. Austin, 994 F.2d 291

(6th Cir. 1993). This is a mistake, as Taxpayers United is clearly distinguishable

from the case at hand.

      Taxpayers United acknowledges that “once a state creates an initiative, the

initiative becomes a means by which voters can communicate with other voters;

therefore, the state must ensure that the process does not violate federal

constitutional rights,” id. at 294, deals with a content-neutral, non-discriminatory

law. The underlying Michigan procedures invalidated signatures on a petition, see

id. at 293, notwithstanding the content of the petition. See id. at 297. It neither

restricted a circulator’s ability to engage in political speech during the circulation

process nor inhibited a signer’s right to vote. Id. at 296-297. As such, Taxpayers



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United stands in stark contrast to our case, which involves a restriction that infringes

on the petitioning process by imposing a time limit on circulation and impedes ballot

access by setting different requirements for different petitioners.1 Put another way,

Mich. Comp. Laws § 125.3402(2) is not a content-neutral, non-discriminatory law.

      Mich. Comp. Laws § 125.3402(2) treats plaintiffs differently than other

parties seeking referendum. While appearing “non-discriminatory,” Mich. Comp.

Laws § 125.3402(2)(b) discriminates as applied to petitioners in large townships.

See Anderson, at 794 (“A burden that falls unequally on new or small political parties

or on independent candidates impinges, by its very nature, on associational choices

protected by the First Amendment.”). It requires petitioners to gather 15% of the

number of signatures in the last gubernatorial election in 30 days, notwithstanding

the size of the population. Mich. Comp. Laws § 125.3402(2). This is inherently

unfair, as it places petitioners in large township at a disadvantage. They must gather

more signatures, have less opportunities for free speech, see Meyer v. Grant, 486

U.S. 414, 422-23 (1988) (noting that the prohibition on paying circulators “limits

the number of voices who will convey [the petitioner’s] message and the hours they

can speak and, therefore, limits the size of the audience they can reach.”), and utilize


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         In fact, Taxpayers United acknowledges the court’s “result would be
different if, as in Meyer, the plaintiffs were challenging a restriction on their ability
to communicate with other voters about proposed legislation, or if they alleged they
were being treated differently than other groups seeking to initiative legislation.” Id.
at 297.

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a larger circulating force in order to achieve the same end goal (referendum) in the

same amount of time. This is not a non-discriminatory regulation. Petitioners in large

townships have a substantial handicap to ballot access.

      Furthermore, Mich. Comp. Laws § 125.3402(2) sets different standards for

zoning referenda than other types of referenda. Section 9 of the Michigan

Constitution reserves the right of referendum to the people. 1963 Mich. Const., § 9.

To invoke this right, petitioners must submit a petition signed by at least 5% of the

total vote cast for all candidates for governor at the last preceding election at which

a governor was elected. Mich. Const.§ 9. Despite the dictates of the Michigan

Constitution, Mich. Comp. Laws § 125.3402(2) imparts a different standard in

townships by cutting the time to obtain signatures by two-thirds, while requiring

three times as many proportionate signatures. Defendants have raised no

justifications for this divergence. As such, it can only be assumed to not be content

neutral. See Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 163 (2015) (noting that

apparently facially content neutral laws will be considered content-based regulations

if they “cannot be justified without reference to the content of the speech.”) Because

Mich. Comp. Laws § 125.3402(2) treats zoning referenda petitions differently, it is

not content neutral and therefore does not fall under rational basis review. As such,

Taxpayers United is inapplicable to the case at hand.




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      II.      Plaintiff’s claim survives notwithstanding the number of signatures
               collected.
      All three Defendants allege that Mich. Comp.§ 125.3402(2) does not severely

Plaintiff’s First and Fourteenth Amendment rights because Plaintiff was able to

obtain 7,895 signatures. This line of argument overlooks the fact that 5,000 of these

signatures were invalidated (the statute requires a party to obtain valid signatures),

the methods Plaintiff used to obtain the signatures, the subsequent invalidation of

the signatures, and the extreme cost associated with gathering them. These were

standard and reasonable measures, as evidenced by the affidavit from Plaintiff’s

expert.

          Township Defendant’s brief offers no evidence in support of their allegations

that Plaintiff did not face a severe burden in collecting these signatures. Township

Defendants allege that Plaintiff was charged “an excessive amount per signature by

the signature-collection firm it selected.” This is an inaccurate representation. Had

Defendants engaged even in a cursory Google search, they would have discovered

this allegation was incorrect. For example, on April 15, 2022, Bridge Michigan, a

nonprofit news source, reported that “[a] lack of seasoned workers in Michigan has

raised the cost of signature gathering up to $20 apiece.” Yue Stella Yu, Soaring

Signature Costs May Bar Some Candidates from Making Michigan Ballot, BRIDGE

MI (Apr. 15, 2022), https://www.bridgemi.com/michigan-government/soaring-

signature-costs-may-bar-some-candidates-making-michigan-ballot. With a higher


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number of ballot initiatives taking place in Michigan this year, as well as low supply

of circulators and high inflation, costs for ballot initiatives have risen exponentially.

Id. As such, Township Defendant’s allegations that Plaintiff spent an excessive

amount on this initiative must be disregarded based on facts.

      Additionally, Township Defendants have raised no legitimate allegations that

Plaintiff could have procured these signatures absent a signature-gathering firm or

without such a high cost. While Township Defendants reference cases in which

petitioners were able to meet the threshold for referendum, these cases arose out of

much smaller townships. (Plaintiff’s Response to Motion to Dismiss, ECF No. 25,

P. 11). Defendants offer no factual support for these allegations.

      Simply put, no defendant addresses the undue burden caused by the methods

Plaintiff had to undertake to meet the threshold. Instead, they attempt to reclassify

these burdens as “reasons [Plaintiff] was unable to gather enough signatures.”

Simply ignoring an issue does not render it illegitimate. As such, Defendants’

reclassification of the burden should fail.

                                   CONCLUSION

             WHEREFORE, Plaintiff respectfully requests that this Court grant

Plaintiff’s Motion for Preliminary Injunction and enjoin the enforcement of Mich.




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       Comp. Laws § 125.3402(2) until disposition of this case on the merits or any other

       relief the Court deems just.


                                                            Respectfully Submitted,

       Dated: May 2, 2022

           CERTIFICATE OF SERVICE
                                                                   /s/ Hannah Stocker
                                                            By: ______________________________
The undersigned certifies that the foregoing instrument         Hannah Stocker (P82847)
was served upon all parties to the above cause to each of
                the attorneys of record
                                                                Attorneys for Plaintiff
           herein via E-file on May 2, 2022.                    23332 Farmington Road, #98
                                                                Farmington, MI 48336
             Signature:/s/ Hannah Stocker
                       Hannah Stocker
                                                                (248) 252-6405 (telephone)
                                                                Hannah@stockerlawpllc.com




           CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing instrument
was served upon all parties to the above cause to each of
                the attorneys of record
  herein via Wiznet on the ___ day of _______ 2012.

           Signature:/s/ Victoria M. Martel
                    Victoria M. Martel
           CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing instrument
was served upon all parties to the above cause to each of
                the attorneys of record
  herein via Wiznet on the ___ day of _______ 2012.

            Signature:/s/ Victoria M. Martel
                     Victoria M. Martel




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